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                       EXHIBIT 9
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          ÜßÌÛ ×ÍÍËÛÜæ Ò±ª»³¾»® îèô îððï                         ×ÒÊÛÍÌ×ÙßÌÑÎøÍ÷æ



          ÐÛÎ×ÑÜÍ ÝÑÊÛÎÛÜæ ðïñðïñðï ¬± ïðñíïñðï                  ßÒßÔÇÍÌøÍ÷æ



          ÜÛÐßÎÌÓÛÒÌæ Ý´·²·½¿´ Î»-»¿®½¸


          ÝÑÓÐÑËÒÜ ÒËÓÞÛÎÍ øÐÜôÉÔôÙÑÛôÝ×÷æ                       ÔÑÌ ÒËÓÞÛÎøÍ÷æ
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          ÐØßÍÛæ                                                 ÐÎÑÌÑÝÑÔ ÒËÓÞÛÎæ



          ÒÑÌÛÞÑÑÕ øÑÎ ÑÌØÛÎ ÎÛÚÍ÷æ                              ÍËÙÙÛÍÌÛÜ ÕÛÇ ÉÑÎÜÍæ
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